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The PornTube.com Content Publishing
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Program Guide
by JT

Preface
Dreamstar	  Cash	  (DSC)	  has	  spent	  many	  months	  developing	  the	  perfect	  environment	  for	  content	  owners	  
to	  publish	  their	  videos	  on	  PornTube.com.	  They	  have	  spoken	  extensively	  with	  their	  existing	  partners	  who	  
upload	   to	   multiple	   tube	   sites	   and	   listened	   to	   all	   of	   their	   gripes	   that	   they	   have	   with	   existing	   upload	  
platforms.	   This	   has	   enabled	   DSC	   to	   develop	   industry	   first	   features	   and	   to	   make	   the	   whole	   CPP	   as	  
seamless	  as	  possible.	  

As	  a	  Content	  Publisher,	  your	  watermarked	  videos	  will	  be	  exposed	  to	  millions	  of	  viewers	  each	  day.	  Your	  
website	  will	  be	  promoted	  via	  a	  banner	  under	  the	  video	  player.	  This	  banner	  will	  consist	  of	  your	  logo	  and	  
a	  description	  of	  your	  website.	  

PornTube	   truly	   values	   the	   relationship	   with	   each	   content	   owner	   who	   utilizes	   its	   platform.	   We	  
understand	   that	   for	   some,	   the	   hurdles	   you	   overcame	   in	   deciding	   to	   join	   the	   ever	   growing	   community	   of	  
content	  owners	  uploading	  licensed	  content	  to	  tubes,	  has	  been	  a	  hard	  one.	  

We	   have	   published	   a	   guide	   that	   will	   help	   you	   in	   your	   quest	   for	   that	   ultimate	   goal:	   Selling	   a	   membership	  
to	  someone	  who	  watches	  for	  free!	  


About the Author
JT	  was	  a	  founding	  member	  of	  YouPorn.com	  in	  late	  2006	  and	  served	  as	  Director	  of	  Global	  Business	  until	  
the	  sale	  in	  May	  2011.	  	  JT,	  known	  to	  many	  as	  The	  YouPorn	  Guy,	  was	  the	  face,	  eyes	  and	  ears	  of	  YouPorn	  
and	   responsible	   for	   the	   monetization	   of	   the	   company's	   user	   base	   that	   grew	   to	   over	   370	   million	   monthly	  
visitors.	   JT	   was	   part	   of	   the	   YouPorn	   team	   that	   designed	   and	   operated	   the	   groundbreaking	   Content	  
Publishing	  Program,	  which	  launched	  in	  early	  2007	  and	  partnered	  with	  over	  2,000	  sites.	  	  

JT	  joined	  Dreamstar	  Cash	  in	  January	  2012.	  


Contact Us
We	   appreciate	   your	   questions,	   comments	   and	   suggestions	   regarding	   The	   PornTube.com	   Content	  
Publishing	   Program	   and	   this	   guide.	   Feel	   free	   to	   email	   JT	   at	   jt@porntube.com.	   You	   can	   check	   out	   The	  
PornTube.com	  Content	  Publishing	  Program	  at	  http://content.porntube.com.	  




                                                                                                                                                                               Ex.78-p.3
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Introduction
My	  name	  is	  JT	  and	  it’s	  my	  pleasure	  to	  welcome	  you	  to	  The	  PornTube.com	  Content	  Publishing	  Program.	  
In	  the	  following	  paragraphs,	  I	  will	  share	  with	  you	  my	  knowledge	  and	  experience	  gained	  from	  being	  part	  
of	   the	   team	   that	   developed	   and	   operated	   the	   YouPorn	   Content	   Publishing	   Program	   for	   over	   2,000	  
brands,	   for	   a	   little	   over	   4	   years.	   In	   that	   time	   we	   hosted	   in	   excess	   of	   120,000	   clips,	   both	   of	   our	   own	  
purchased	  content	  and	  content	  from	  publishers	  like	  you.	  	  

With	  the	  advent	  of	  adult	  tube	  sites	  back	  in	  2006,	  and	  the	  sheer	  horror	  to	  which	  they	  were	  received	  by	  
the	   adult	   industry,	   we	   faced	   an	   uphill	   struggle	   when	   we	   introduced	   the	   first	   ever	   Content	   Publishing	  
Program.	   One	   of	   the	   main	   inspirations	   for	   doing	   this	   was	   to	   give	   the	   content	   owners	   access	   to	   our	  
considerable	   traffic,	   via	   a	   promo	   banner	   under	   the	   video	   player	   linking	   to	   their	   own	   website.	   You	   can	  
imagine	  the	  skepticism	  of	  directing	  our	  free	  users	  to	  a	  membership	  pay	  site	  but	  for	  the	  very	  first	  content	  
publishers	   we	   featured,	   we	   sold	   in	   excess	   of	   1,000	   full	   memberships	   in	   the	   first	   month!	   The	   cat	   was	   out	  
the	  bag	  and	  word	  soon	  got	  round	  that	  YouPorn	  was	  good	  for	  business!	  We	  were	  literally	  inundated	  with	  
approaches	  from	  content	  owners	  to	  join	  our	  program.	  

We	   continually	   analyzed	   the	   data	   from	   the	   performance	   of	   the	   clips	   and	   we	   undertook	   extensive	   A/B	  
testing	   with	   the	   end	   goal	   to	   improve	   user	   satisfaction.	   This	   eye	   for	   detail	   ended	   up	   in	   selling	   literally	  
hundreds	  of	  thousands	  of	  initial	  memberships,	  along	  with	  many	  more	  rebills	  for	  our	  Content	  Publisher	  
Websites.	  

For	   example,	   an	   interesting	   statistic	   that	   we	   identified	   was	   for	   content	   owners	   that	   produced	   more	   of	   a	  
niche	   type	   of	   content.	   For	   the	   end	   user,	   visiting	   a	   tube	   site	   with	   so	   much	   content	   readily	   available	  
enabled	  them	  to	  view	  niches	  of	  content	  that	  they	  have	  never	  had	  access	  to	  before	  (or	  never	  wanted	  to	  
search	  Google	  for	  it!).	  Stats	  show	  on	  more	  niche	  content	  that	  whilst	  views	  of	  the	  clips	  were	  lower,	  click	  
thru’s	  were	  higher	  than	  average	  and	  sales	  ratios	  were	  better.	  	  

Most	   of	   the	   successful	   Content	   Publishers	   in	   the	   past	   were	   the	   ones	   that	   reached	   out	   to	   us	   for	  
assistance.	   Living	   and	   breathing	   a	   tube	   site	   every	   minute	   of	   the	   day	   gave	   us	   great	   insight	   to	   what	   makes	  
it	  tick.	  We	  received	  many	  calls,	  emails	  and	  all	  sorts	  of	  gifts	  from	  our	  content	  publishers	  thanking	  us	  for	  
saving	   their	   declining	   business.	   For	   many	   of	   our	   2,000	   publishers,	   we	   were	   their	   #1	   affiliate	   and	   their	  
financial	  lifeline	  that	  allowed	  them	  to	  continue	  producing	  content.	  	  

Now,	  down	  to	  business.	  I’m	  not	  going	  to	  try	  and	  bluff	  you	  and	  say,	  “throw	  a	  clip	  up	  on	  a	  tube	  site	  and	  
you’ll	  make	  bank”,	  as	  it	  takes	  time,	  it	  takes	  commitment	  and	  it	  takes	  nerve.	  It	  is	  pretty	  pointless	  to	  sign	  
up	  to	  any	  tube	  CPP,	  ours	  included,	  if	  you	  will	  “give	  it	  a	  go	  with	  a	  couple	  of	  clips”.	  You	  need	  to	  make	  a	  
plan,	  commit	  a	  good	  amount	  of	  clips	  to	  it	  and	  stick	  to	  it.	  As	  a	  bare	  minimum,	  I	  would	  suggest	  15	  good	  
length	  clips	  to	  be	  scheduled	  over	  a	  30	  day	  period.	  But	  please	  read	  on	  for	  tips	  to	  help	  create	  that	  content.	  




                                                                                                                                                                                     Ex.78-p.4
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PornTube.com	   has	   built	   one	   of	   the	   best	   CPP	   in	   the	   market	   today.	   From	   the	   moment	   you	   go	   through	   the	  
sign	  up	  process	  to	  listing	  your	  first	  site	  and	  submitting	  your	  first	  clips,	  you	  will	  understand	  the	  research	  
and	   development	   that	   has	   gone	   into	   providing	   you	   the	   best	   framework	   possible.	   However,	   we	   can	   have	  
the	   best	   system	   on	   the	   market,	   but	   it	   is	   of	   no	   use	   if	   the	   content	   owners	   do	   not	   understand	   how	   to	  
monetize	  a	  free	  tube	  user.	  	  

That	  is	  my	  inspiration	  for	  writing	  this	  guide,	  to	  give	  you	  some	  an	  insight	  so	  that	  you	  can	  start	  to	  make	  
money	  from	  the	  tubes.	  PornTube	  are	  fully	  committed	  to	  our	  CPP	  community	  and	  we	  are	  here	  to	  help	  
you	  on	  the	  road	  to	  a	  successful	  and	  rewarding	  CPP	  experience.	  Far	  too	  many	  studios	  are	  going	  out	  of	  
business	  with	  the	  onset	  of	  free	  porn,	  but	  the	  myth	  that	  you	  can’t	  sell	  a	  membership	  to	  a	  free	  tube	  site	  
user	  is	  just	  that,	  a	  myth.	  

Many	  of	  the	  tips	  I	  will	  share	  in	  this	  guide	  are	  obvious,	  but	  they	  are	  pieces	  of	  the	  jigsaw	  that	  you	  need	  so	  
that	  when	  you	  piece	  them	  all	  together,	  you	  can	  start	  seeing	  the	  $dollar	  bills$!	  


1. Free tube users do buy memberships
With	   the	   advent	   of	   the	   tubes,	   every	   adult	   with	   an	   Internet	   connection	   has	   been	   given	   access	   to	   free	  
porn.	  I	  am	  going	  to	  help	  you	  do	  what	  many	  people	  will	  tell	  you	  is	  impossible:	  Sell	  a	  membership	  to	  a	  free	  
tube	  user!	  

Should	   you	   submit	   to	   a	   tube?	   Many	   “experts”	   on	   the	   boards	   will	   tell	   you	   not	   to	   do	   it,	   many	   content	  
owners	  have	  tried	  and	  failed	  (and	  blame	  the	  tubes	  not	  themselves),	  and	  others	  simply	  boycott	  the	  tubes	  
all	  together.	  That’s	  their	  own	  choice	  but	  let’s	  put	  it	  into	  perspective.	  

Yes,	  you	  are	  playing	  with	  low	  click	  thru	  rates	  and	  smaller	  sales	  ratios	  than	  you	  would	  ever	  expect	  to	  see,	  
but	  multiply	  this	  by	  the	  sheer	  mass	  of	  eyeballs	  on	  your	  content	  and	  you	  will	  start	  to	  see	  how	  you	  could	  
make	  this	  work.	  	  


2. Types of Tube Users
Not	   every	   tube	   user	   will	   click	   on	   your	   banner	   after	   viewing	   your	   clip,	   in	   fact	   few	   will.	   However,	   getting	   a	  
good	  understanding	  of	  the	  type	  of	  tube	  user	  is	  your	  first	  step	  to	  selling	  your	  very	  first	  membership	  to	  a	  
free	  tube	  user.	  

It	  is	  fair	  to	  say	  that	  the	  majority	  of	  tube	  users	  can	  be	  split	  into	  many	  groups,	  but	  I	  have	  grouped	  them	  
into	  just	  3.	  

       a. We	   have	   the	   “log	   on,	   get	   off	   and	   log	   off”	   brigade.	   Generally	   male,	   logging	   on	   in	   a	   particular	  
          pattern	   such	   mid-­‐day,	   early	   and	   late	   evening.	   The	   opportunist	   visitor.	   We	   can	   call	   these	  
          “whackers”.	  Fewer	  page	  views	  and	  a	  few	  video	  views	  before	  playing	  one	  for	  the	  full	  duration.	  




                                                                                                                                                                                       Ex.78-p.5
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       b. We	  have	  the	  users	  that	  know	  exactly	  what	  they	  are	  looking	  for	  and	  simply	  click	  through	  the	  
          pages	  of	  recent	  video	  uploads	  until	  they	  spot	  it,	  we	  can	  call	  these	  “hawks”.	  These	  generally	  have	  
          more	  page	  views	  but	  only	  1	  video	  play.	  	  

       c. On	  the	  other	  end	  of	  the	  rainbow,	  there	  are	  users	  that	  like	  to	  peruse	  through	  the	  site	  at	  their	  
          leisure,	  searching	  for	  that	  special	  niche,	  that	  particular	  pornstar,	  seeing	  what	  clip	  takes	  their	  
          eye.	  We	  can	  call	  these	  “lookers”.	  Lots	  of	  page	  views,	  lots	  of	  searches,	  a	  real	  connoisseur.	  	  

By	   joining	   The	   PornTube.com	   CPP,	   your	   content	   will	   be	   exposed	   to	   millions	   of	   users	   a	   day.	  
Understanding	  the	  types	  of	  user	  is	  your	  first	  step	  to	  making	  the	  CPP	  experience	  a	  successful	  one.	  


3. Continuity is KEY
It	  is	  very	  important	  that	  you	  generate	  enough	  clips	  to	  have	  a	  continued	  presence	  on	  PornTube.com.	  You	  
may	  own	  enough	  content	  that	  enables	  you	  to	  promote	  a	  video	  per	  day,	  you	  may	  only	  be	  able	  to	  provide	  
2	  per	  week.	  But	  getting	  your	  brand	  seen	  regularly	  seen	  by	  the	  tube	  user	  is	  key	  to	  making	  the	  PornTube	  
CPP	  or	  any	  other	  tube	  CPP	  a	  success.	  	  

With	   our	   video	   scheduler	   functionality,	   and	   while	   your	   videos	   are	   uploading,	   you	   can	   choose	   via	   the	  
calendar	  function,	  which	  video	  is	  to	  release	  on	  the	  day	  that	  you	  decide.	  That	  way,	  you	  can	  upload	  all	  of	  
your	   videos	   for	   the	   month	   in	   one	   sitting	   and	   be	   done,	   rather	   than	   having	   to	   remember	   to	   come	   back	   on	  
the	  days	  that	  you	  want	  the	  clips	  to	  go	  live	  and	  do	  single	  uploads.	  It	  is	  particularly	  helpful	  if	  you	  see	  more	  
sales	  on	  a	  Saturday,	  to	  be	  able	  to	  make	  sure	  your	  video	  goes	  out	  on	  a	  Saturday	  as	  opposed	  to	  a	  Tuesday.	  
If	   you	   are	   going	   to	   the	   effort	   of	   uploading	   your	   clip	   to	   us,	   then	   YOU	   should	   be	   in	   control	   of	   when	   it	  
appears!	  

We	  also	  have	  the	  upload	  video	  queuing	  ability	  so	  that	  you	  do	  not	  have	  to	  wait	  for	  each	  individual	  clip	  to	  
upload	   until	   you	   can	   move	   on	   to	   the	   next.	   You	   can	   simply	   create	   an	   unlimited	   queue	   of	   videos	   in	   the	  
upload	  manager	  and	  you’re	  done.	  You	  can	  do	  this	  last	  thing	  at	  night,	  and	  sleep,	  safe	  in	  the	  knowledge	  
that	  they	  will	  get	  to	  us!	  


4. Generating the clips
PLEASE	  do	  not	  be	  tempted	  to	  rush	  and	  cut	  7	  x	  3	  minute	  clips	  from	  every	  scene	  you	  have	  and	  flood	  the	  
tubes	  with	  them.	  This	  is	  a	  waste	  of	  time	  and	  you	  will	  fail.	  

Content	  owners	  see	  the	  biggest	  conversions	  from	  editing	  longer,	  more	  fulfilling	  clips	  from	  a	  scene.	  You	  
know	  your	  content	  better	  than	  anyone.	  Do	  not	  be	  afraid	  to	  put	  your	  best	  content	  on	  a	  tube	  site.	  This	  is	  
the	   shop	   window	   to	   your	   brand	   and	   you	   need	   to	   stand	   out	   and	   appeal	   to	   as	   many	   of	   the	   users	   as	  
possible.	   Do	   not	   hold	   back	   your	   best	   content	   just	   because	   you	   are	   giving	   it	   away	   for	   free.	   Do	   not	   be	  
tempted	  to	  restrict	  the	  content	  that	  you	  upload	  to	  a	  tube	  to	  be	  your	  older	  content.	  This	  really	  is	  your	  
opportunity	  to	  show	  millions	  of	  users	  just	  what	  they	  are	  to	  expect	  in	  your	  member’s	  area.	  If	  you	  put	  out	  




                                                                                                                                                                                        Ex.78-p.6
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your	  2-­‐year-­‐old	  content,	  the	  tube	  user	  will	  think	  that	  this	  is	  what	  they	  will	  get	  behind	  the	  members	  wall.	  	  
It’s	  the	  same	  as	  a	  clothing	  catalogue	  company	  putting	  out	  last	  year’s	  designs	  in	  their	  print	  catalogue	  but	  
saving	  this	  year’s	  designs	  for	  their	  website.	  I	  hope	  you	  can	  see	  that	  it	  kind	  of	  defeats	  the	  objective	  we	  
are	  both	  trying	  to	  achieve.	  

There	  are	  4	  fundamental	  rules	  to	  editing	  a	  successful	  clip:	  

       1. The	   clip	   ideally	   would	   be	   10	   minutes	   or	   longer	   in	   duration.	   The	   longer	   the	   clip,	   the	   higher	   the	  
          views.	  The	  higher	  the	  views,	  the	  more	  clicks	  on	  your	  banners,	  the	  more	  clicks	  on	  your	  banners	  =	  
          MORE	   SALES!	   For	   clips	   of	   10	   minutes	   or	   longer,	   PornTube.com	   do	   NOT	   take	   an	   affiliate	   fee	  
          from	  any	  sales.	  You	  will	  get	  all	  traffic	  affiliate	  link	  free!	  

       2. A	   proper	   beginning,	   where	   it	   slowly	   eases	   into	   the	   scene	   rather	   than	   “wham”	   right	   into	   the	  
          action.	  

       3. A	  middle	  to	  the	  clip,	  where	  there	  is	  good	  build	  up	  in	  the	  action	  which	  will	  prepare	  the	  user	  for	  
          the	  inevitable	  ending.	  

       4. The	   ending,	   you	   REALLY	   need	   to	   have	   a	   money	   shot,	   an	   ejaculation,	   an	   orgasm,	   a	   euphoric	  
          verbal	  explosion!	  

The	  majority	  of	  users	  are	  going	  to	  be	  masturbating	  to	  your	  clip.	  By	  giving	  them	  a	  middle	  of	  substance,	  
with	   a	   build	   up	   to	   the	   ending,	   you	   will	   have	   a	   user	   that	   will	   be	   ejaculating	   at	   the	   same	   time	   as	   your	  
pornstar/s.	  

This	  is	  a	  VERY	  happy	  user.	  A	  happy	  user	  will	  make	  a	  mental	  note	  of	  your	  brand	  via	  the	  watermark	  that	  
has	   been	   prominent	   throughout	   the	   clip.	   More	   importantly,	   many	   users	   would	   simply	   make	   a	   note	   of	  
the	   website	   on	   a	   piece	   of	   paper	   by	   their	   keyboard.	   Either	   way,	   the	   next	   time	   they	   see	   one	   of	   your	  
branded	  clips,	  or	  are	  surfing	  the	  net,	  they	  are	  more	  likely	  to	  choose	  your	  brand	  over	  others.	  	  	  


5. Where did all this new direct type in traffic come
from?
With	  virtually	  every	  Content	  Producer	  I	  have	  worked	  with	  in	  the	  past,	  they	  have	  all	  admitted	  the	  same	  
thing.	   If	   I	   had	   sent	   them	   5,000	   clicks	   via	   the	   promo	   banner	   under	   the	   video	   player,	   they	   would	   have	  
10,000	  brand	  new	  search	  engine/direct	  type	  in´s.	  That	  is	  one	  of	  the	  reasons	  why	  most	  tubes	  make	  you	  
watermark	  with	  /nameoftubesite	  to	  combat	  this	  leaked	  traffic.	  	  

As	  those	  10,000	  clicks	  are	  affiliate	  code	  free,	  this	  traffic	  is	  pure	  GOLD	  to	  the	  content	  owner!	  

Having	   to	   re-­‐watermark	   each	   clip	   for	   every	   tube	   site	   you	   submit	   to	   is	   often	   the	   only	   excuse	   an	   editor	  
needs	   to	   “I’ll	   do	   it	   tomorrow”	   and	   then	   the	   uploading	   screeches	   to	   a	   halt.	   We	   do	   NOT	   ask	   you	   to	   put	  




                                                                                                                                                                                        Ex.78-p.7
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/PornTube	  after	  your	  watermarks	  saving	  you	  the	  hassle,	  and	  making	  it	  one	  step	  easier	  to	  upload	  your	  
clips	  to	  PornTube.	  


6. Strategic watermarking on the clip
Running	  a	  tube	  site	  gives	  you	  an	  endless	  amount	  of	  stats	  that	  you	  can	  get	  lost	  in	  for	  days,	  but	  the	  most	  
obvious	  are	  page	  and	  video	  views	  per	  visit	  and	  length	  of	  time	  spent	  online.	  

Most	  interesting	  is	  the	  fact	  that	  the	  “whackers”	  seem	  to	  skip	  through	  2	  videos	  before	  they	  hit	  play	  on	  
their	   video	   of	   choice.	   This	   means	   that	   your	   clip	   will	   have	   a	   very	   short	   window	   of	   opportunity	   to	   be	  
exposed	   and	   identified	   to	   these	   types	   of	   user.	   This	   is	   where	   a	   correctly	   positioned,	   subtly	   different	  
watermark	  will	  get	  your	  clip	  huge	  exposure	  over	  other	  clips.	  

A	  standout	  watermark	  also	  appeals	  to	  the	  “hawks”,	  as	  they	  can	  easily	  identify	  their	  favorite	  video.	  We	  
saw	  many	  instances	  where	  a	  user	  would	  arrive,	  look	  at	  the	  home	  page,	  page	  2,	  page	  3	  and	  bingo,	  they	  
found	   the	   branded	   clip	   they	   were	   looking	   for.	   If	   you	   are	   uploading	   regularly,	   then	   subconsciously,	   the	  
users	   will	   become	   reliant	   on	   your	   clips	   for	   their	   needs.	   Being	   able	   to	   easily	   identify	   your	   watermark	  
while	  scanning	  a	  page	  full	  of	  thumbnails	  is	  very	  effective.	  

Have	  a	  look	  at	  some	  of	  the	  regular	  uploaded	  brands	  on	  other	  tubes.	  You	  will	  see	  exactly	  what	  I	  mean	  
about	  a	  standout	  watermark,	  but	  this	  is	  often	  something	  so	  simple	  that	  it	  is	  overlooked.	  


7. Choosing the right tags/keywords
Keywords	  –	  don’t	  be	  tempted	  to	  take	  the	  splatter	  gun	  effect	  with	  tags/keywords,	  it	  really	  has	  a	  negative	  
effect.	  Only	  tag	  what	  really	  is	  in	  your	  video.	  

Imagine	   if	   you	   were	   a	   creampie	   fan.	   You	   had	   searched	   and	   found	   your	   video	   tagged	   with	   creampie.	   You	  
would	  be	  disappointed	  to	  find	  out,	  after	  watching	  the	  video,	  that	  it	  was	  not	  a	  creampie	  video.	  The	  user	  
now	  has	  a	  negative	  view	  on	  your	  brand.	  

It	  is	  important	  to	  tag	  your	  video	  correctly.	  


8. Adding a Title to your clip
Titling	  your	  clip	  correctly	  is	  imperative.	  You	  should	  make	  good	  use	  of	  the	  35	  character	  spaces	  available	  
to	  you	  that	  will	  sit	  above	  your	  clip	  thumbnail	  on	  PornTube.	  There	  are	  a	  total	  of	  55	  characters	  available	  
that	   will	   be	   visible	   on	   the	   video	   player	   page,	   but	   your	   title	   needs	   to	   make	   an	   impact	   in	   the	   first	   35	  
characters.	  

	  

	  




                                                                                                                                                                                     Ex.78-p.8
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Here	  are	  some	  tips:	  

       ●      Include	  a	  “keyword”	  in	  the	  title.	  If	  the	  clip	  features	  a	  “MILF”,	  then	  include	  “MILF”	  or	  “mom”	  in	  
              the	  title.	  If	  it	  features	  a	  MILF	  swallowing	  cum,	  then	  tell	  the	  users	  with	  “cum	  swallowing	  MILF”.	  
              These	  keywords	  are	  an	  important	  way	  of	  your	  clips	  showing	  up	  in	  relevant	  search	  results.	  You	  
              know	  the	  video	  you	  have	  just	  uploaded,	  so	  think	  about	  what	  relevant	  keyword/s	  you	  could	  use	  
              to	  have	  your	  clip	  show	  up	  in	  a	  search	  result.	  The	  tube	  user	  also	  scans	  the	  video	  titles	  so	  have	  a	  
              strong	  keyword	  in	  the	  first	  two	  or	  3	  words	  of	  the	  title.	  

       ●      PLEASE	   do	   not	   load	   your	   title	   with	   excessive	   use	   of	   keywords	   by	   titling	   a	   clip	   as	   “Teen	   Milf	   mom	  
              does	  anal	  squirt”.	  	  Make	  sure	  your	  title	  and	  keywords	  make	  sense	  and	  do	  not	  deceive	  the	  user.	  	  

       ●      Do	  not	  use	  offensive	  words	  in	  the	  title	  and	  do	  not	  be	  degrading	  to	  the	  performers	  in	  the	  video.	  
              Users	  can	  find	  these	  very	  off-­‐putting	  and	  they	  can	  have	  a	  negative	  affect	  on	  the	  amount	  of	  views	  
              your	  clip	  will	  receive.	  This	  can	  also	  negatively	  affect	  the	  reputation	  of	  your	  brand.	  	  	  

       ●      Refrain	   from	   using	   slang	   words.	   For	   example,	   you	   would	   have	   far	   better	   results	   from	   having	  
              “cum”	  in	  your	  title	  rather	  than	  “man	  juice”,	  and	  “pussy”	  rather	  than	  “vag”.	  


9. Promo Banner Text and Logo
With	   the	   PornTube	   CPP,	   you	   are	   given	   a	   promotional	   banner	   under	   the	   video	   player	   to	   promote	   your	  
brand.	  Spend	  time	  writing	  the	  text	  and	  creating	  the	  logo	  for	  this	  promotional	  banner.	  What	  you	  write	  
here	  will	  have	  a	  big	  influence	  on	  getting	  the	  user	  to	  click	  your	  banner.	  

Your	   logo	   should	   be	   very	   clear	   and	   should	   stand	   out	   but	   not	   look	   out	   of	   keeping	   with	   the	   overall	   design	  
of	   the	   video	   player	   page	   on	   the	   tube.	   Please	   take	   time	   to	   see	   where	   your	   banner	   will	   be	   present.	   On	  
PornTube	  your	  promo	  banner	  will	  be	  under	  the	  video	  player	  and	  your	  logo/text	  will	  sit	  directly	  on	  a	  light	  
grey	   box	   on	   a	   white	   page.	   The	   page	   features	   a	   lot	   of	   black	   with	   red.	   You	   should	   make	   some	   different	  
designs	   to	   see	   how	   well	   they	   fit	   on	   the	   page.	   Maybe	   just	   have	   your	   brand	   logo,	   maybe	   incorporate	   a	  
small	  image.	  However,	  don’t	  make	  the	  logo	  too	  busy.	  

When	  writing	  the	  text,	  write	  something	  about	  your	  site	  that	  sets	  you	  aside	  from	  your	  competitors.	  If	  you	  
have	   a	   lot	   of	   content	   on	   your	   site,	   now	   is	   the	   chance	   to	   tell	   the	   users.	   If	   you	   have	   exclusive	   HD	   content,	  
or	   unique	   amateur	   clips,	   include	   it	   here.	   Stuck	   for	   words?	   Maybe	   your	   site	   has	   had	   a	   very	   good	   write	   up	  
from	  one	  of	  the	  review	  sites,	  or	  received	  a	  great	  comment	  from	  an	  active	  member.	  If	  it	  fits,	  use	  one	  in	  
the	  description	  text.	  

You	  only	  have	  a	  few	  lines	  of	  text	  available	  so	  make	  good	  use	  of	  it!	  

	  




                                                                                                                                                                                             Ex.78-p.9
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10. With-in a tube site, brand loyalty exists
Having	   a	   regular	   clip	   promoted	   on	   PornTube.com	   will	   create	   brand	   awareness.	   The	   more	   clips	   you	  
upload	  to	  us	  means	  you	  will	  feature	  on	  the	  front	  page	  more	  often	  where	  you	  will	  attract	  the	  “whackers”.	  

The	  longer	  you	  participate	  in	  the	  CPP,	  the	  more	  clips	  you	  will	  have	  online	  and	  the	  more	  search	  results	  
you	  will	  feature.	  This	  is	  where	  using	  keywords	  and	  correctly	  tagging	  your	  clips	  is	  imperative.	  Now	  you	  
have	  the	  “whackers”	  and	  “lookers”.	  

Having	  an	  easily	  identifiable	  watermark,	  backed	  up	  with	  longer	  more	  fulfilling	  clips,	  will	  result	  in	  higher	  
views,	  higher	  ratings	  which	  itself	  brings	  more	  exposure.	  This	  will	  give	  people	  confidence	  in	  your	  brand	  
that	  they	  will	  get	  what	  they	  are	  looking	  for	  without	  question.	  You	  now	  have	  attracted	  the	  “hawk”.	  

Congratulations!	  You	  now	  have	  appealed	  to	  all	  3	  types	  of	  users.	  This	  is	  the	  perfect	  scenario.	  

Only	  a	  small	  percentage	  of	  free	  tube	  users	  will	  ever	  purchase	  a	  membership	  to	  any	  site.	  Hopefully,	  by	  
following	   my	   guide	   to	   the	   PornTube	   Content	   Publishing	   Program,	   you	   will	   be	   in	   the	   best	   possible	  
position	  to	  be	  that	  site.	  For	  the	  free	  tube	  users	  that	  would	  NEVER	  purchase	  a	  membership,	  all	  is	  not	  lost.	  
By	  following	  my	  steps	  in	  building	  brand	  awareness,	  you	  will	  build	  a	  loyal	  following	  with	  in	  the	  tubes.	  You	  
still	   benefit	   from	   this	   considerable	   exposure.	   These	   fans	   of	   your	   content	   do	   have	   a	   social	   life,	   they	   do	  
have	  friends.	  People	  that	  have	  a	  good	  user	  experience,	  even	  when	  consuming	  free	  porn,	  will	  tell	  their	  
friends	  about	  it.	  We	  grew	  YouPorn,	  via	  word	  of	  mouth,	  to	  370	  million	  users	  a	  month	  by	  giving	  just	  that,	  a	  
good	  user	  experience.	  Follow	  all	  these	  tips	  and	  you	  may	  just	  be	  that	  brand	  they	  talk	  about!	  	  

No	  one	  can	  force	  a	  free	  user	  to	  buy	  a	  membership.	  Many	  of	  the	  viewers	  of	  your	  content	  will	  never	  pay	  
for	  a	  membership	  to	  yours	  or	  any	  adult	  site.	  However,	  what	  we	  can	  do	  is	  put	  you	  in	  front	  of	  those	  that	  
could	  be	  tempted	  to	  buy,	  and	  deliver	  them	  to	  your	  website.	  The	  rest,	  as	  they	  say,	  is	  down	  to	  you!	  

Please	  do	  not	  hesitate	  to	  contact	  me	  at	  jt@porntube.com	  for	  more	  info.	  

	  

	  

	  

	  

	  

	  

	  

	  




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                                                                                                                                                                               Ex.78-p.11
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http://www.dreamstarcash.com/portfolio/porntube




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                         Exhibit
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